          Case 18-35441 Document 2 Filed in TXSB on 09/29/18 Page 1 of 9



                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                           §
In re:                                     §
                                           §   Chapter 11
FRANCIS’ DRILLING FLUIDS, LTD.,            §
                                           §   Case No. 18-35441
                     Debtor.               §
                                           §
                                           §
In re:                                     §
                                           §   Chapter 11
FDF RESOURCES HOLDINGS LLC,                §
                                           §   Case No. 18-35442
                     Debtor.               §
                                           §
                                           §
In re:                                     §
                                           §   Chapter 11
FRANCIS LOGISTICS, LLC,                    §
                                           §   Case No. 18-35443
                     Debtor.               §
                                           §

  DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN ORDER (1) DIRECTING
   JOINT ADMINISTRATION PURSUANT TO BANKRUPTCY RULE 1015(b) AND
         LOCAL RULE 1015-1; AND (2) WAIVING REQUIREMENTS OF
                 BANKRUPTCY RULES 1005 AND 2002(n)


         THE MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. If
         YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE
         A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU
         MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
         DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
         WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT
         FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
         WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
         MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
         ATTEND THE HEARING.       UNLESS THE PARTIES AGREE
         OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
         HEARING AND MAY DECIDE THE MOTION AT THE HEARING.
              Case 18-35441 Document 2 Filed in TXSB on 09/29/18 Page 2 of 9



         EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT
         CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU
         WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO
         THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE
         EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
         SHOULD FILE AN IMMEDIATE RESPONSE.

         A HEARING WILL BE CONDUCTED ON THIS MATTER ON
         TUESDAY, OCTOBER 2, 2018 AT 9:30 AM IN COURTROOM 404, 4th
         FLOOR, UNITED STATES BANKRUPTCY COURT FOR THE
         SOUTHERN DISTRICT OF TEXAS, 515 RUSK AVENUE, HOUSTON,
         TEXAS 77002.

         REPRESENTED           PARTIES       SHOULD        ACT      THROUGH          THEIR
         ATTORNEY.


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Francis’ Drilling Fluids, Ltd. (“FDF”) and its above-captioned affiliated debtors

(collectively, the “Debtors”) file this Emergency Motion for Entry of an Order (1) Directing

Joint Administration Pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1; and

(2) Waiving Requirements of Bankruptcy Rules 1005 and 2002(n) (the “Motion”). In support of

this Motion, the Debtors respectfully state as follows:

                      I.     JURISDICTION, VENUE, AND AUTHORITY

         1.       This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b). Federal Rule

of Bankruptcy Procedure 1015 provides the statutory predicate for the requested relief.

         2.       This Court has constitutional authority to enter final orders with respect to the

relief requested herein. The Debtors further confirm their consent to this Court’s entry of final

orders or judgments on this Motion if it is later determined that, in the absence of the consent of

the parties, this Court does not have constitutional authority to enter final orders or judgments.




92593369.3                                       -2-
              Case 18-35441 Document 2 Filed in TXSB on 09/29/18 Page 3 of 9



                                II.          FACTUAL BACKGROUND

         3.       On September 29, 2018, each of the Debtors filed a voluntary petition for relief

under chapter 11 of the Bankruptcy Code (the “Petition Date”). A detailed description of the

facts and circumstances leading to these chapter 11 cases is set forth in the Declaration of Greg

Baracato in Support of Chapter 11 Petitions and First Day Motions (the “Baracato

Declaration”).

         4.       The Debtors’ immediate objectives in commencing these chapter 11 cases are to

minimize any loss in the value of their assets, preserve on-going business operations, and jobs

and thereby maximize creditor recoveries. To accomplish these ends, the Debtors intend to sell

substantially all of their assets pursuant to Court-approved sale procedures.

                                      III.    RELIEF REQUESTED

         5.       Pursuant to Federal Rule of Bankruptcy Procedure 1015(b), the Debtors seek joint

administration of their chapter 11 cases and implementation of the following procedures:

                  a.     One docket shall be maintained for the Debtors’ cases, under the case
                         number assigned to Francis’ Drilling Fluids, Ltd.;

                  b.     The caption of all pleadings, orders and other papers filed shall be
                         modified as follows to reflect the joint administration of these cases:




92593369.3                                         -3-
             Case 18-35441 Document 2 Filed in TXSB on 09/29/18 Page 4 of 9



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                              §
In re:                                                        §     Chapter 11
                                                              §
FRANCIS’ DRILLING FLUIDS, LTD., et al.,                       §     Case No. 18-35441
                                                              §
                           Debtors. 1                         §     (Jointly Administered)
                                                              §


                 c.       A notation substantially similar to the following notation shall be entered
                          on the docket for all other Debtors to reflect that each of the Debtors’
                          chapter 11 cases shall be jointly administered under the Francis’ Drilling
                          Fluids, Ltd. chapter 11 case:

                                   An order has been entered in this case directing joint
                                   administration of this case solely for procedural purposes with the
                                   chapter 11 bankruptcy case of Francis’ Drilling Fluids, Ltd., Case
                                   No. 18-35441. The docket for Francis’ Drilling Fluids, Ltd. should
                                   be consulted for all matters affecting this case.

                 d.       The Office of the United States Trustee shall conduct joint informal
                          meetings with Debtors, if one is required, and a joint first meeting of
                          creditors, if one is required;

                 e.       Each of the Debtors shall file separate Schedules of Assets and Liabilities,
                          Statements of Financial Affairs and, as applicable, Lists of Equity Security
                          Holders;

                 f.       Proofs of claim filed by creditors of any Debtor shall reflect the caption
                          and case number of the Debtor to which the claim relates and in whose
                          case such claim is to be filed;

                 g.       Separate claims registers shall be maintained for each Debtor;

                 h.       One plan and disclosure statement may be filed for all of these cases;
                          however, substantive consolidation is not being requested at this time; and



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are, as follows: Francis’ Drilling Fluids, Ltd. (0574); FDF Resources Holdings LLC (1956); Francis
Logistics LLC (9397). Additional information regarding these cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at www.jndla.com/cases/FrancisDrilling. The Debtors’ address is 100 Asma
Blvd., Suite 151, Lafayette, LA 70508.


92593369.3                                              -4-
                Case 18-35441 Document 2 Filed in TXSB on 09/29/18 Page 5 of 9



                    i.       The Debtors shall be authorized to file the monthly operating reports
                             required by the United States Trustee on a consolidated basis in a format
                             acceptable to the United States Trustee.

           6.       The Debtors additionally request waiver of the need to include the Debtors’ full

tax identification numbers in pleading captions. See FED. R. BANKR. P. 1005 & 2002(n).

                                          IV.      BASIS FOR RELIEF

           7.       Federal Rule of Bankruptcy Procedure 1015 authorizes the Court to order the joint

administration of the estates of a debtor and its affiliates. FED. R. BANKR. P. 1015(b) (“If a joint

petition or two or more petitions are pending in the same court by . . . (4) a debtor and an

affiliate, the court may order a joint administration of the estates”). Each of the above-captioned

Debtors are affiliates of Francis’ Drilling Fluids, Ltd. See 11 U.S.C. § 101(2); see also Baracato

Declaration. 2

           8.       Joint administration of these cases will save considerable time and expense for the

Debtors, their estates, the United States Trustee, and this Court.                            Moreover, the joint

administration of the chapter 11 cases will permit the use of a single, consolidated docket for

each of the Debtors’ cases and to combine notices to creditors and other parties in interest of the

Debtors’ respective estates.

           9.       Joint administration will avoid the need for repetitive, duplicative, and potentially

confusing notices, motions, and applications, and other filings thereby saving time and expense.

In particular, joint administration will permit counsel for the Debtors and for parties in interest to

(a) use a single caption on the numerous documents that will be served and filed herein and

(b) file papers in one case rather than in multiple cases. Joint administration will also protect

parties in interest by ensuring that parties in each of the Debtors’ respective chapter 11 cases will

be apprised of the various matters before this Court in the chapter 11 cases.

2
    Section 302 of the Bankruptcy Code further contemplates the joint administration of affiliated cases.


92593369.3                                                 -5-
             Case 18-35441 Document 2 Filed in TXSB on 09/29/18 Page 6 of 9



         10.     No party will be prejudiced by the relief requested in the Motion. Specifically,

the relief sought herein is solely procedural and is not intended to affect substantive rights. See,

e.g., In re McKenzie Energy Corp., 228 B.R. 854, 874 (Bankr. S.D. Tex. 1998) (“Joint

administration is designed in large part to promote procedural convenience and cost efficiencies

which do not affect the substantive rights of claimants or the respective debtor estates.”). Each

creditor and other party in interest will maintain whatever rights it has against the particular

estate in which it allegedly has a claim or right.

         11.     As the proposed joint administration is procedural only, the Debtors respectfully

request that the Court direct that any creditor filing a proof of claim against any of the Debtors or

their respective estates clearly assert its claim against the particular Debtor obligated on such

claim, and not against the jointly administered Debtors. Separate claims registers shall be

maintained for each Debtor.

         12.     Finally, omitting the Debtors’ full tax identification number from pleading

captions is purely procedural and will not affect any party’s rights as this information is available

already on the Debtors’ chapter 11 petitions.

                           V.      EMERGENCY CONSIDERATION

         13.     The relief requested herein is necessary to avoid immediate and irreparable harm,

and to avoid confusion and facilitate a smooth transition into these chapter 11 cases. Indeed, it is

critical that the cases be jointly administered as there will be a significant volume of docket

filings and other procedural events. As such, the Debtors believe that emergency consideration

is necessary and request that this Motion be heard at the Debtors’ first day hearings.




92593369.3                                           -6-
             Case 18-35441 Document 2 Filed in TXSB on 09/29/18 Page 7 of 9



                                          VI.   NOTICE

         14.     Notice of this Motion will be provided by overnight delivery and/or e-mail or

facsimile to: (a) the Office of the United States Trustee for the Southern District of Texas; (b) all

known or alleged secured creditors; (c) the Debtors’ forty (40) largest unsecured creditors on a

consolidated basis; (d) the Debtors’ pre- and any post-petition secured lenders and their counsel;

(e) the Debtors and the Debtors’ professionals; (f) Prophet Equity LP and its counsel; (g) the

Internal Revenue Service; (h) all applicable state and local taxing authorities; (i) all other

government agencies, national, state and local, to the extent required by the Bankruptcy Code,

Federal Rules of Bankruptcy Procedure or Local Rules; (j) all statutory committees appointed in

these cases; (k) all parties requesting notice under Rule 2002 of the Federal Rules of Bankruptcy

Procedure; and (l) all parties on whom the Court orders notice. The Debtors submit that, in light

of the nature of the relief requested, no other or further notice need be given

                                         VII.    PRAYER

         For the foregoing reasons, the Debtors respectfully request that this Court enter an order

substantially in the form attached to this Motion granting the relief requested in this Motion, and

grant the Debtors such other and further relief as may be just and proper.




                           [Remainder of Page Intentionally Left Blank]




92593369.3                                       -7-
             Case 18-35441 Document 2 Filed in TXSB on 09/29/18 Page 8 of 9



Dated: September 29, 2018.
       Houston, Texas

                                            Respectfully submitted,

                                            NORTON ROSE FULBRIGHT US LLP

                                            By: /s/ Jason L. Boland
                                            William R. Greendyke (SBT 08390450)
                                            Jason L. Boland (SBT 24040542)
                                            Robert B. Bruner (SBT 24062637)
                                            Julie Goodrich Harrison (SBT 20492434)
                                            1301 McKinney Street, Suite 5100
                                            Houston, Texas 77010-3095
                                            Telephone: (713) 651-5151
                                            Facsimile: (713) 651-5246
                                            william.greendyke@nortonrosefulbright.com
                                            jason.boland@nortonrosefulbright.com
                                            bob.bruner@nortonrosefulbright.com
                                            julie.harrison@nortonrosefulbright.com

                                            PROPOSED ATTORNEYS FOR DEBTORS
                                            AND DEBTORS-IN-POSSESSION




                              CERTIFICATE OF ACCURACY

        I hereby certify that the facts and circumstances described in the above pleading giving
rise to the expedited request for relief are true and correct to the best of my knowledge,
information and belief.

                                                    /s/ Jason L. Boland
                                                    Jason L. Boland




92593369.3                                    -8-
             Case 18-35441 Document 2 Filed in TXSB on 09/29/18 Page 9 of 9



         An order has been entered in this case directing joint administration of this case
         solely for procedural purposes with the chapter 11 bankruptcy case of Francis’
         Drilling Fluids, Ltd., Case No. 18-35441. The docket for Francis’ Drilling Fluids,
         Ltd. should be consulted for all matters affecting this case.

And it is further

         ORDERED that the Office of the United States Trustee shall conduct joint informal

meetings with Debtors, if one is required, and a joint first meeting of creditors, if one is required;

and it is further

                 ORDERED that each of the Debtors shall file separate Schedules of Assets and

Liabilities, Statements of Financial Affairs and, as applicable, Lists of Equity Security Holders;

and it is further

                 ORDERED that proofs of claim filed by creditors of any Debtor shall reflect the

caption and case number of the Debtor to which the claim relates and in whose case such claim is

to be filed; and it is further

                 ORDERED that separate claims registers shall be maintained for each Debtor;

and it is further

                 ORDERED that the Debtors shall be authorized to file the monthly operating

reports required by the United States Trustee on a consolidated basis in a format acceptable to

the United States Trustee; and it is further

                 ORDERED that this Court shall retain jurisdiction over all matters arising from or

related to the interpretation or implementation of this Order.




Dated: ___________________________             _________________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




92593369.3                                       -2-
